                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )        NO. 2:11-CR-81
                                                    )
RODNEY E. TULLOCK                                   )



                                           ORDER

        This criminal matter is before the Court to consider the Report and Recommendation of the

United States Magistrate Judge dated December 7, 2011. [Doc. 350].         The Magistrate Judge

recommends that the defendant’s motion to suppress evidence found in his van following a traffic

stop be denied. The defendant has filed an objection to the Report and Recommendation. [Doc. 382].

        After careful de novo consideration of the Report and Recommendation of the United States

Magistrate Judge, the transcript of the hearing on December 7, 2011, the defendant’s objection to

the Report and Recommendation, the defendant’s motion to suppress, the response of the

government, and for the reasons set out in the Report and Recommendation which are incorporated

by reference herein, it is hereby ORDERED that the Report and Recommendation is ADOPTED

and APPROVED, and that the defendant's motion to suppress is DENIED. [Doc. 266].

        ENTER:


                                                             s/J. RONNIE GREER
                                                        UNITED STATES DISTRICT JUDGE




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